     Case: 1:23-cv-15325 Document #: 40 Filed: 11/29/23 Page 1 of 2 PageID #:2282



                       $1000 IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

TV TOKYO CORPORATION,                                               )
                                                                    )
                                                                    )   Case No. 23-cv-15325
                Plaintiff,                                          )
                                                                    )
                                                                    )   Judge Lindsay C. Jenkins
v.                                                                  )
                                                                    )
THE INDIVIDUALS, CORPORATIONS,                                      )
LIMITED LIABILITY COMPANIES,                                        )
PARTNERSHIPS AND UNINCORPORATED                                     )
ASSOCIATIONS IDENTIFIED                                             )
ON SCHEDULE A HERETO,                                               )
                                                                    )
                Defendants.                                         )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANTS NO. 22, 92

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff TV TOKYO
CORPORATION hereby dismisses with prejudice all causes of action in the complaint as to the
Defendants identified below and in Schedule A. No motions are pending relative to these Defendants.
Each party shall bear its own attorney’s fees and costs.

        No.     Defendant
        22      kasstinomall
        92      Xixiabaihuo

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                          Respectfully submitted,
Dated: November 29, 2023                  By:     s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Robert P. McMurray (Bar No. 6324332)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
                                                  Three First National Plaza
                                                  70 W. Madison Street, Suite 4000
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                                                  Attorneys for Plaintiff
                                                  TV TOKYO CORPORATION
    Case: 1:23-cv-15325 Document #: 40 Filed: 11/29/23 Page 2 of 2 PageID #:2283




                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 29, 2023.



                                                           s/Michael A. Hierl
